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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Darryl Lee MCMILLAN

Docket Number:                       1:92CR05264-003

Offender Address:                    Bakersfield, California

Judicial Officer:                    Honorable Oliver W. Wanger
                                     United States District Judge
                                     Fresno, California

Original Sentence Date:              12-13-93

Original Offense:                    Count 1: 18 USC 2119 and 18 USC 2 - Carjacking and
                                     Aiding and Abetting (CLASS B FELONY)
                                     Count 2: 18 USC 924(c)(1) and 18 USC 2 - Use of a
                                     Firearm During and in Relation to Crime of Violence
                                     and Aiding and Abetting (CLASS D FELONY)

Original Sentence:                   As to Count 1: 300 months Bureau of Prisons; As to
                                     Count 2: 60 months Bureau of Prisons, Count 2 to be
                                     served consecutive to Count 1; 5 years supervised
                                     release; $2,120 restitution; $100 special assessment;
                                     mandatory drug testing

Special Conditions:                  Warrantless search; participate in substance abuse
                                     counseling/testing; shall make payments of restitution
                                     heretofore ordered in installments as determined by the
                                     U. S. Probation Officer.

Type of Supervision:                 Supervised release

Supervision Commenced:               12-30-05

Assistant U.S. Attorney:             Patrick Hanly             Telephone: (559) 497-4500

Defense Attorney:                    Francine Zepeda           Telephone: (559) 487-5561

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Other Court Action:

03-25-96:                        Re-sentencing, following the case being returned from
                                 the Ninth Circuit. Sentenced to a total term of 300
                                 months; 240 months on Count 1 and 60 months on
                                 Count 2, to be served consecutively.

06-04-01:                        Re-sentencing, following the U. S. Supreme Court's
                                 ruling on Jones v. United States, 526 U.S. 227 (1999).
                                 Amended judgment 180 months as to Count 1 and 60
                                 months as to Count 2, to be served consecutive for a
                                 total term of 240 months. The Court then departed
                                 downward 60 months on Count 1, for a total term of 180
                                 months, 5 years supervised release, all previous special
                                 conditions of supervision reinstated.


                             PETITIONING THE COURT

To modify the conditions of supervision as follows:

      The defendant shall reside and participate in a residential community
      correctional center, for a period not exceed 90 days; said placement shall
      commence as directed by the probation officer pursuant to 18 USC
      3563(b)(11). The defendant shall pay cost of confinement as determined by
      the Bureau of Prisons.


Justification: On December 30, 2005, the releasee reported to the U. S. Probation
Office for a scheduled appointment and was instructed as to the conditions of his
supervised release. On January 3, 2006, the releasee submitted to random urinalysis
testing at the Turning Point, Community Correction Center and provided a urine specimen
in reference to bar code number C00340649, which tested positive for cocaine. The
undersigned officer counseled with Mr. McMillan and expressed concern that within 3 days
of his release from the Turning Point, Community Corrections Center he relapsed with the

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use of cocaine. Mr. McMillan agreed to participate in a community corrections based
program to obtain counseling and signed the Waiver of Hearing form.

On February 1, 2006, the releasee entered the Turning Point, Community Corrections
Center located in Fresno, California to initiate program services while awaiting a Court
disposition. According to initial reports from the Turning Point, Community Corrections
Center in Fresno, it appears the releasee is making a positive transition into the facility.
It is respectfully recommended the Court modify the conditions of release to require the
releasee to participate in the Turning Point, Community Corrections Center for a period not
to exceed 90 days.



                                 Respectfully submitted,

                                  /s/ Lonnie E. Stockton

                                LONNIE E. STOCKTON
                            United States Probation Officer
                              Telephone: (661) 861-4124

DATED:        February 28, 2006
              Bakersfield, California
              LES:ks


REVIEWED BY:         /s/ Rick C. Louviere
                     RICK C. LOUVIERE
                     Supervising United States Probation Officer




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THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

IT IS SO ORDERED.

Dated: March 3, 2006                        /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




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